      Case 1:17-cv-00376-KG-KBM Document 59 Filed 02/15/19 Page 1 of 16



                        IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF NEW MEXICO

KERRY CUMMING,

       Plaintiff,

vs.                                                 Civ. No. 17-376 KG/KBM

QUESTA SCHOOL BOARD OF EDUCATION and
QUESTA INDEPENDENT SCHOOLS,

       Defendants.

                          MEMORANDUM OPINION AND ORDER

       This matter comes before the Court upon Defendants’ Motion for Summary Judgment,

filed March 21, 2018. (Doc. 36). On April 23, 2018, Plaintiff filed a response and on May 22,

2018, Plaintiff filed a Notice of Supplemental Authority. (Docs. 40 and 42). In her response,

Plaintiff voluntarily dismisses Defendant Questa Independent Schools as a party and voluntarily

dismisses Count I of the “Complaint for Damages, Notice of Appeal and Jury Demand”

(Complaint) (Doc. 1), the New Mexico Human Rights Act (NMHRA) age discrimination claim.

(Doc. 40) at 16. On June 20, 2018, Defendants filed a reply. (Doc. 51).

       Having reviewed and considered Defendants’ Motion for Summary Judgment, the

accompanying briefing, including the Notice of Supplemental Authority, and the material

evidence, the Court grants the Motion for Summary Judgment as to the remaining Defendant,

Questa School Board of Education (Questa).
         Case 1:17-cv-00376-KG-KBM Document 59 Filed 02/15/19 Page 2 of 16



A. Summary of Material Facts Viewed in the Light Most Favorable to Plaintiff1

           This is an employment discrimination lawsuit in which Plaintiff, an Anglo teacher, claims

race discrimination. On July 18, 2012, Plaintiff responded to a Questa Notice of Vacancy for an

elementary school teacher. (Docs. 36-1 and 36-2). Although the Notice of Vacancy did not

specify where the vacancy was or for what grade, there was an elementary school teacher

vacancy at the Rio Costilla, New Mexico, elementary school (Rio Costilla). (Doc. 36-2). The

Rio Costilla vacancy occurred when Martha Sanchez, a Rio Costilla elementary school teacher,

was promoted to principal of the Alta Vista elementary school (Alta Vista) in Questa, New

Mexico, located twenty miles from Rio Costilla. (Doc. 40-1) at 3, depo. at 31; (Doc. 40-4) at 3,

depo. at 17; (Doc. 36-15) at 3, depo. at 55. The general Notice of Vacancy did not restrict the

position to just one school because many times a current teacher applies for a posted job which

then opens a teaching position in possibly another school. (Doc. 40-4) at 4, depo. at 18.

           In her Employment Application, Plaintiff stated that she was certified by the State of

New Mexico to teach third and fourth grades. (Doc. 36-1) at 1. Plaintiff further noted in the

Employment Application that she preferred to teach third grade over fourth grade. Id. Plaintiff

holds a New Mexico “Level Three-A Instructional Leader K-8 Elementary License.” (Doc. 40-

2) at 2. Plaintiff is also nationally board certified as a “Middle Childhood/Generalist.” (Doc. 40-

2) at 1.

           On Tuesday, July 31, 2012, a Questa interview committee, chaired by Sanchez,

interviewed Plaintiff and Lisa Rael for the position of “Elementary Teacher K-6.” (Doc. 36-3);

(Doc. 40-1) at 2, depo. at 20. That same day, Sanchez, in a written document, informed Questa

superintendent Roy Herrera, an Hispanic, that the interview committee recommended both


1
    Unless otherwise noted, this summary of material facts is undisputed.


                                                    2
      Case 1:17-cv-00376-KG-KBM Document 59 Filed 02/15/19 Page 3 of 16



Plaintiff and Rael. (Doc. 36-5); (Doc. 40-4) at 2, depo. at 12. In a telephone conversation with

Herrera, Sanchez specifically recommended Plaintiff for the Rio Costilla position, the only open

position at that time. (Doc. 36-15) at 2, depo. at 36; (Doc. 40-4) at 5, depo. at 22. The interview

committee did not recommend Rael for the position at Rio Costilla. (Doc. 40-1) at 8, depo. at

60.

       The day after the interview, Wednesday, August 1, 2012, Herrera called Plaintiff to offer

her the Rio Costilla position. (Doc. 36-4) at 2-3, depo. at 65 and 69. Sanchez was on the line

when Herrera made the offer. 2 Id. at 3, depo. at 69. Plaintiff told Sanchez that she would think

about the offer. Id. In the meantime, Sanchez and Plaintiff planned to visit the Rio Costilla

school the next day. Id.

       On Thursday, August 2, 2012, Plaintiff decided she did not want the Rio Costilla job

because of the 20-mile drive from Questa. (Doc. 40-1) at 3, depo. at 31; (Doc. 36-15) at 2, depo.

at 36. After Plaintiff told Herrera she did not want the Rio Costilla job, Plaintiff mentioned to

Herrera she would be interested in working at Alta Vista, in Questa. (Doc. 40-4) at 6, depo. at

28. Herrera told Plaintiff that the only opening was at Rio Costilla, but he would look into Alta

Vista. Id. Herrera, in fact, would have liked to employ Plaintiff at Alta Vista because of her

national board certification. (Doc. 40-1) at 3, depo. at 31.

       On Friday morning, August 3, 2012, Sanchez called Plaintiff to offer her a third-grade

position at Alta Vista.3 (Doc. 36-4) at 3, depo. at 66. Later that day, Plaintiff met with Sanchez


2
  According to Herrera, he did not offer the Rio Costilla job to Plaintiff and that Sanchez,
instead, had offered Plaintiff that job. (Doc. 40-4) at 7, depo. at 38-39.
3
 Sanchez testified at her deposition that she did not offer Plaintiff any position at Alta Vista
because only the superintendent can offer employment. (Doc. 36-15) at 2, depo. at 34. In
addition, according to Herrera, Sanchez never told him that she had offered Plaintiff a position at
Alta Vista. (Doc. 40-4) at 10, depo. at 58.


                                                 3
      Case 1:17-cv-00376-KG-KBM Document 59 Filed 02/15/19 Page 4 of 16



at Alta Vista. Id. at 3, depo. at 67. At the beginning of this meeting, Sanchez told Plaintiff that

Herrera wanted her to take the third-grade position. (Doc. 36-15) at 2, depo. 36-37. Sanchez

then showed Plaintiff the available third-grade classrooms, gave her some teachers manuals, and

discussed the professional development schedule for the next week. Id. at 3, depo, 67-68.

During that meeting, Plaintiff accepted the third-grade position at Alta Vista and Sanchez

informed Plaintiff that she could sign a contract “the following week when the teachers all

arrived.”4 (Doc. 36-4) at 3, depo, 68.

       Plaintiff spoke with Sanchez again, on Saturday, August 4, 2012.5 Id. at 3, depo. at 66.

Sanchez offered Plaintiff the option of teaching fourth/fifth/sixth grade math at Alta Vista. Id.

Plaintiff told Sanchez that she preferred the third-grade position. (Doc. 36-4) at 6, depo. at 98.

During this conversation, Sanchez told Plaintiff to attend the new teacher orientation on Monday,

August 6, 2012.6 (Doc. 36-4) at 4, depo. at 82. Sanchez also told Plaintiff to arrive at Alta Vista

early on Monday, before the new teacher orientation, to choose her classroom. Id.

       On Monday, August 6, 2012, Plaintiff arrived at Alta Vista before the new teacher

orientation started and chose her classroom. Id. at 4, depo. at 83. Plaintiff then attended the new

teacher orientation where she introduced herself as the new third-grade teacher at Alta Vista. Id.




4
 Sanchez stated in her deposition that she did not talk to Plaintiff about when to sign a contract.
(Doc. 36-15) at 2, depo. at 34.
5
 Sanchez noted in her deposition that she does not usually call people on the weekends and that
she did not recall speaking with Plaintiff on a Saturday. (Doc. 40-1) at 4, depo. at 41.
6
  Sanchez testified at her deposition that she did not think she told Plaintiff to attend the new
teacher orientation. (Doc. 40-1) at 4, depo. at 41. Herrera testified at his deposition that when
Plaintiff called him to ask about any possible positions at Alta Vista and he told her that he did
not know if there was a position at Alta Vista, he told Plaintiff was welcome to attend the new
teacher orientation. (Doc. 40-4) at 7, depo. at 40-41.


                                                 4
       Case 1:17-cv-00376-KG-KBM Document 59 Filed 02/15/19 Page 5 of 16



at 4-5, depo. at 85-86. At about 10:00 a.m., a receptionist pulled Plaintiff out of the new teacher

orientation to meet with Herrera. Id. at 5, depo. at 86.

        Herrera told Plaintiff that he had to “rescind” the third-grade job because “[s]omething’s

come up.” Id. at 5, depo. at 87. Herrera indicated that the rescission had nothing to with

Plaintiff, but he could not say what had happened.7 Id. at 5, depo. at 88. Herrera again offered

Plaintiff the Rio Costilla position. Id. Plaintiff rejected the offer stating that “it was too far.”8

Id. Plaintiff told Herrera that she was worried she might have car trouble while driving to Rio

Costilla. Id. Herrera responded that he could pick Plaintiff up if there was car trouble. Id.

Herrera also offered to write Plaintiff a reference letter, which Plaintiff rejected because she had

plenty of reference letters and Herrera did not know her. Id. Herrera told Plaintiff she would be

paid for one day of work. Id.

        Sanchez explained at her deposition why Plaintiff did not ultimately get the third-grade

position at Alta Vista. Sanchez initially agreed with Herrera’s decision to try to find a third-

grade position at Alta Vista for Plaintiff. (Doc. 40-1) at 5, depo. at 45. Hiring Plaintiff in that

position would mean that Sanchez would have to move Geri Roybal, the current third-grade

teacher at Alta Vista, to Rio Costilla. Id. Although current teachers are moved from one school

to another, Sanchez decided that she did not want to start her principalship by moving a current

teacher to accommodate a new teacher. Id. at 5-6, depo. at 45-46. Sanchez thought such an

action would be unfair to Roybal. Id. Sanchez noted that if she had been a principal for a year

or two, had known Roybal “a little more,” and had talked with her about a move, she “would


7
 Herrera stated at this deposition that he never would have told Plaintiff that he could not tell her
why she could not work at Alta Vista. (Doc. 40-4) at 9, depo. at 48-49.
8
 Herrera testified at his deposition that he did not “rescind” the Alta Vista job. (Doc. 40-4) at 8,
depo. at 44-45. Rather, he “rescinded” the Rio Costilla job offer after Plaintiff rejected it in
order to let Plaintiff know that the Rio Costilla job was no longer available. Id.
                                                   5
       Case 1:17-cv-00376-KG-KBM Document 59 Filed 02/15/19 Page 6 of 16



have been ok” with moving Roybal to Rio Costilla and having Plaintiff at Alta Vista. Id.

Sanchez then told Herrera that she decided it would be better to keep Roybal as the third-grade

teacher at Alta Vista and not put Plaintiff in that position. Id. at 6, depo. at 47-48.

Consequently, Plaintiff did not get the third-grade position at Alta Vista because it was not

available. Id. at 6, depo. at 48.

        The day after the new teacher orientation, on August 7, 2012, Herrera offered Rael

employment at Alta Vista as a pre-kindergarten teacher and she accepted the offer the next day.

(Doc. 36-8); (Doc. 36-9). The Alta Vista pre-kindergarten position became open when Sanchez

decided to move Mrs. Trujillo, a pre-kindergarten teacher working at Alta Vista but who lives in

Rio Costilla, to a pre-kindergarten position in Rio Costilla. (Doc. 36-15) at 3, depo. at 55-56.

The Alta Vista pre-kindergarten position was offered to Rael because she is certified in early

childhood education. Id. Sanchez did not ask Plaintiff whether she would want the Alta Vista

pre-kindergarten position because Plaintiff did not have an early childhood education teaching

certificate. Id. Plaintiff could teach pre-kindergarten without an early childhood education

teaching certificate if she obtained a waiver or provisional license. Id. at 3, depo. at 57.

Nonetheless, Plaintiff did not express to Herrera at any time that she was interested in teaching

pre-kindergarten. (Doc. 36-14) at 3, depo. at 59-60.

        Questa later identified Rael as Hispanic in an Equal Employment Opportunity

Commission (EEOC) document. (Doc. 36-13). Rael, however, identifies herself as Caucasian

and states that her maiden name is Quinn. (Doc. 36-16) at ¶¶ 5 and 6. Sanchez perceived Rael




                                                   6
         Case 1:17-cv-00376-KG-KBM Document 59 Filed 02/15/19 Page 7 of 16



as Anglo and knows that she is married to an Hispanic man.9 (Doc. 40-1) at 8, depo. 59. The

Questa school district is primarily Hispanic. (Doc. 40-4) at 2, depo. 12-13.

         Herrera understood that as Questa superintendent, he had the authority to make hiring

decisions. (Doc. 36-14) at 2, depo. at 57. Herrera did not offer Plaintiff a position at Alta Vista,

nor did Herrera recall Sanchez seeking his approval to make such an offer. Id. at 2-3, depo. at

57-58.

B. The Complaint: Race Discrimination Claims

         Plaintiff brings race discrimination claims under the NMHRA, Section 1981, and Title

VII. For all three claims, Plaintiff alleges Questa racially discriminated against her because she

is Anglo. Plaintiff specifically alleges that Questa discriminated against her when Questa either

refused to hire her as an Alta Vista teacher or terminated her employment by “rescinding” the

Alta Vista third-grade job. (Doc. 1) at ¶¶ 29, 33, and 38. Plaintiff alleges that rather than hiring

her to teach at Alta Vista, Questa either hired or replaced her with Rael, a less qualified Hispanic.

Id. at ¶¶ 30, 34, and 39.

C. Summary Judgment Standard

         Summary judgment is appropriate if the moving party shows “there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a). Once the moving party meets its initial burden of demonstrating the absence of a genuine

issue of material fact, the burden shifts to the nonmoving party to set forth specific facts showing

that there is a genuine issue for trial. See Schneider v. City of Grand Junction Police Dep't, 717

F.3d 760, 767 (10th Cir. 2013). A dispute over a material fact is “genuine” only if “the evidence

is such that a reasonable jury could return a verdict for the nonmoving party.” Anderson v.


9
 Plaintiff claims in her response that Herrera testified that Rael is Hispanic. (Doc. 40) at 15.
However, Plaintiff does not provide a document or citation to support this claim.
                                                  7
      Case 1:17-cv-00376-KG-KBM Document 59 Filed 02/15/19 Page 8 of 16



Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The Court views the facts in the light most

favorable to the nonmoving party and draws all reasonable inferences in the nonmoving party’s

favor. Tabor v. Hilti, Inc., 703 F.3d 1206, 1215 (10th Cir. 2013).

D. Discussion

       1. The Section 1981 and Title VII Reverse Race Discrimination Claims

       The Court notes that the elements for a race discrimination claim are the same under both

Section 1981 and Title VII. Payan v. United Parcel Serv., 905 F.3d 1162, 1168 (10th Cir. 2018).

To establish race discrimination under Title VII, a plaintiff must first

       establish a prima facie case of discrimination. Second, if the plaintiff carries his initial
       burden, the burden shifts to the defendant to “articulate some legitimate
       nondiscriminatory reason” for the challenged workplace decision. Third, if the defendant
       carries this burden, the plaintiff has an opportunity to prove that the legitimate reasons
       the defendant offered were merely a pretext for discrimination.

Notari v. Denver Water Dep't, 971 F.2d 585, 588 (10th Cir. 1992). Questa argues (1) Plaintiff

has failed to demonstrate a prima facie claim of reverse racial discrimination, (2) Questa has

articulated nondiscriminatory reasons for its decisions, and (3) Plaintiff has not demonstrated

that Questa’s nondiscriminatory reasons for its decisions constitute pretext.

                a. Prima Facie Case

       Typically, a plaintiff must show the following to establish a prima facie case of

discrimination: “(1) she ‘belongs to a protected class’; (2) she ‘suffered an adverse employment

action’; and (3) ‘the challenged action took place under circumstances giving rise to an inference

of discrimination.’” Kenfield v. Colorado Dep't of Pub. Health & Env't, 557 F. App'x 728, 731

(10th Cir. 2014) (quoting EEOC v. PVNF, L.L.C., 487 F.3d 790, 800 (10th Cir. 2007)). In a

reverse discrimination lawsuit, a plaintiff meets the first prima facie element by establishing

       either “background circumstances that support an inference that the defendant is one of
       those unusual employers who discriminates against the majority,” Notari v. Denver

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      Case 1:17-cv-00376-KG-KBM Document 59 Filed 02/15/19 Page 9 of 16



       Water Dep't, 971 F.2d 585, 589 (10th Cir.1992), or provid[ing] evidence supporting “a
       reasonable inference that but for the plaintiff's status the challenged decision would not
       have occurred,” id. at 590.

Id. “The mere fact that a plaintiff was qualified and another employee of a different status

benefitted from the challenged decision is not sufficient.” Id.

       To establish the first prima facie element, Plaintiff notes that the Questa school district is

primarily Hispanic, Herrera is Hispanic, and Sanchez is Hispanic.10 These facts alone, however,

are insufficient for a reasonable jury to find that “background circumstances … support an

inference that [Questa] is one of those unusual employers who discriminates against the

majority.” Id. See also Bishopp v. D.C., 788 F.2d 781, 787 (D.C. Cir. 1986) (holding in reverse

discrimination case that finding hiring authorities were “black” is not “conclusive evidence or

perhaps even strong evidence of discriminatory motivation”).

       Moreover, Plaintiff’s contention that Questa offered the Alta Vista teaching job to an

Hispanic, Rael, is belied by the undisputed fact that Rael is an Anglo woman married to an

Hispanic man.11 In light of this undisputed fact, a reasonable jury viewing the evidence in the

light most favorable to Plaintiff could not find that Questa’s EEOC document listing Rael as

Hispanic is correct except to the extent that Rael has an Hispanic married name. Even if Sanchez

and Herrera considered Rael to be Hispanic, it is undisputed that Rael had an early childhood



10
  Plaintiff cites to Sanchez’s deposition at page 10 to support her assertion that Sanchez is
Hispanic. (Doc. 40) at 8, ¶ HH. Plaintiff, however, has not produced that page of Sanchez’s
deposition. For the sake of argument only, the Court will assume Sanchez, indeed, is Hispanic.
11
   Aside from Rael’s own acknowledgment that she is an Anglo with an Anglo maiden name,
Sanchez also perceived Rael as an Anglo. See Bennun v. Rutgers State Univ., 941 F.2d 154,
172–73 (3d Cir. 1991) (holding that “unlawful discrimination must be based on [the plaintiff’s]
objective appearance to others” because “[d]iscrimination stems from a reliance on immaterial
outward appearances that stereotype an individual with imagined, usually undesirable,
characteristics thought to be common to members of the group that shares these superficial
traits”).
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      Case 1:17-cv-00376-KG-KBM Document 59 Filed 02/15/19 Page 10 of 16



education teaching certificate while Plaintiff did not. Plaintiff has not provided evidence from

which a reasonable jury could infer that, but for Plaintiff’s status as an Anglo, as opposed to her

lack of an early childhood education teaching certificate, Questa would not have hired Rael, an

early childhood education certified teacher, to teach pre-kindergarten at Alta Vista. Hence,

Plaintiff has not presented evidence to establish the first prima facie element.

       Next, the Court addresses the second prima facie element. Courts typically consider

adverse employment actions to include failure to hire and termination of employment, which

Plaintiff alleges happened in this case. See Burlington Indus., Inc. v. Ellerth, 524 U.S. 742, 761

(1998) (holding that conduct is adverse employment action if it “constitutes a significant change

in employment status, such as hiring, firing, failing to promote, reassignment with significantly

different responsibilities, or a decision causing a significant change in benefits”).

       Here, it is undisputed that Herrera wanted Plaintiff to work at Alta Vista if there was a

position available. Even if Herrera encouraged Sanchez to make a position at Alta Vista, a

reasonable jury viewing the evidence in the light most favorable to Plaintiff could not find that

Herrera offered Plaintiff a third-grade teaching position at Alta Vista. Instead, Plaintiff has

presented evidence that Sanchez offered Plaintiff the third-grade teaching position, which

Plaintiff accepted from Sanchez. However, as a matter of law, Sanchez, as a principal, cannot

hire a teacher; only Herrera, as a superintendent, can hire a teacher. NMSA 1978, § 22-5-

14(B)(3) (2012 Repl. Pamp.) (“The local superintendent shall … employ … all employees of the

school district….”).

       Plaintiff argues that Sanchez was “ostensibly acting on [Herrera’s] authority when she

made that offer,” but provides no legal authority to suggest that Herrera can relinquish his

statutory duty to hire employees. (Doc. 40) at 15. Plaintiff further relies on McGarry v. Bd. of



                                                 10
      Case 1:17-cv-00376-KG-KBM Document 59 Filed 02/15/19 Page 11 of 16



Cty. Comm'rs of Cty. of Pitkin, a reverse discrimination case raising the issue of hiring authority,

to illustrate the analysis the Court should apply in this case. 175 F.3d 1193 (10th Cir. 1999).

       The Tenth Circuit in McGarry found “sufficient direct evidence of reverse discrimination

to avoid summary judgment.” Id. at 1199. The County Board, in that case, successively hired

two minority applicants over Plaintiff. As a result of these hires, McGarry provided a list of

questions to the County Personnel Director, who investigated why Plaintiff had not been hired.

Id. The County Personnel Director noted “minorities” on the list of questions and indicated to

McGarry that the hires were “affirmative action hirings.” Id. at 1199-1200. The County

Personnel Director also had previously asserted that the hires were based on “better

qualifications.” Id. at 1200. The County Board argued that the County Personnel Director’s

“statements are not evidence of discrimination because she did not possess the authority to hire

McGarry” and the others. Id. The Tenth Circuit disagreed with the County Board and

determined that the statements were evidence of reverse discrimination. The Tenth Circuit

explained that “[t]hese were not the statements of an underling without significant

responsibility,” the County Personnel Director “had the duty of overseeing the general

management policies of the personnel department in the organization,” and the “statements were

within the scope of her agency or employment.” Id.

       McGarry is distinguishable from this case. First, although Sanchez’s statements to

Plaintiff were not those “of an underling without significant responsibility,” Plaintiff has not

presented evidence that Sanchez had “the duty of overseeing the general management policies of

the personnel department” of the Questa school district. Furthermore, according to New Mexico

state law, the authority to offer employment falls within the scope of the superintendent’s

employment, not within the scope of a principal’s employment. Additionally, as noted above,



                                                 11
      Case 1:17-cv-00376-KG-KBM Document 59 Filed 02/15/19 Page 12 of 16



Plaintiff has not provided any legal support to suggest that Sanchez had any agency authority to

offer employment to Plaintiff.

       In sum, a reasonable jury viewing the evidence in the light most favorable to Plaintiff

could not find that Sanchez’s unauthorized offer of employment to Plaintiff and Herrera’s

subsequent “rescission” of that unauthorized offer of employment constitute adverse

employment actions such as failure to hire or termination which can be attributed to Questa. Cf

Jackson v. Kaplan Higher Educ., LLC, 106 F. Supp. 3d 1118, 1126-27 (E.D. Cal. 2015) (holding

that employee failed to allege or produce evidence that would give rise to inference that adverse

employment action she suffered was result of age bias where, among other things, supervisor

was not decision-maker who had actual authority to terminate employee). For that reason as

well as for the other aforementioned reasons, Plaintiff has failed to present evidence of a prima

facie case of reverse discrimination sufficient to survive summary judgment.

               b. Questa’s Nondiscriminatory Reasons for its Decisions

       Assuming Plaintiff has presented evidence of a prima facie case of reverse

discrimination, the burden shifts to Questa to provide nondiscriminatory reasons for its decisions.

Viewing the evidence in the light most favorable to Plaintiff, a reasonable jury could find the

following facts.

       The original job vacancy was for an elementary teacher at Rio Costillo. Herrera offered

the Rio Costilla position to Plaintiff, but Plaintiff rejected the offer and expressed an interest in

teaching at Alta Vista. Sanchez determined that she could create a third-grade position at Alta

Vista for Plaintiff if she moved Roybal from the Alta Vista third-grade position to fill the open

Rio Costilla position. Sanchez then offered Plaintiff the Alta Vista third-grade position held by

Roybal, which Plaintiff accepted.



                                                  12
      Case 1:17-cv-00376-KG-KBM Document 59 Filed 02/15/19 Page 13 of 16



       Sometime prior to the new teacher orientation, Sanchez decided that, as a new principal,

it would be unfair to inconvenience Roybal, an existing teacher, by requiring her to drive to Rio

Costilla to accommodate a new hire. Accordingly, Sanchez told Herrera that there would not be

a third-grade position at Alta Vista after all. The Rio Costilla position, therefore, remained open.

Thus, Herrera informed Plaintiff at the new teacher orientation that he could not hire her at Alta

Vista, but he offered her the Rio Costilla position that remained open which Plaintiff again

rejected.

       With the Rio Costilla position open, Sanchez decided to move Mrs. Trujillo, an Alta

Vista pre-kindergarten teacher, to Rio Costilla, where she lives, and to fill Mrs. Trujillo’s Alta

Vista position with Rael, who is a pre-kindergarten teacher certified in early childhood

education. Sanchez explained in her deposition that she did not consider Plaintiff for the Alta

Vista pre-kindergarten position because she was not certified in early childhood education.

Sanchez also explained that Plaintiff had expressed an interest in teaching only third or fourth

grade as indicated in her Employment Application. Although Plaintiff may have obtained a

waiver or provisional license to teach pre-kindergarten, Rael was hired because she was already

certified in early childhood education.

       The above decisions and reasonings reflect Questa’s legitimate nondiscriminatory need to

fill open positions in such a way as to accommodate incumbent teachers who, presumably, have

priority over a new hire. A reasonable jury viewing those decisions and reasonings could not

find that Questa lacked a nondiscriminatory reason for failing to employ Plaintiff as either a

third-grade or pre-kindergarten teacher at Alta Vista.

               c. Pretext




                                                 13
      Case 1:17-cv-00376-KG-KBM Document 59 Filed 02/15/19 Page 14 of 16



       Because Questa has met its burden of demonstrating nondiscriminatory reasons for its

actions, Plaintiff may resist summary judgment only “by presenting evidence that [defendant’s]

reason is pretextual, i.e., unworthy of belief, or by otherwise introducing evidence of a

discriminatory motive.” See Danville v. Regional Lab Corp., 292 F.3d 1246, 1250 (10th Cir.

2002) (citing Stone v. Autoliv ASP, Inc., 210 F.3d 1132, 1137 (10th Cir. 2000)). “A plaintiff

establishes pretext by revealing ‘such weaknesses, implausibilities, inconsistencies,

incoherencies, or contradictions in the employer’s proffered legitimate reasons for its action that

a reasonable factfinder could rationally find them unworthy of credence.’” E.E.O.C. v. Horizon

CMS Healthcare Corp., 220 F.3d 1184, 1198 (10th Cir. 2000) (citation omitted). “The relevant

inquiry is not whether [the employer’s] proffered reasons were wise, fair or correct, but whether

[the employer] honestly believed those reasons and acted in good faith upon those beliefs.”

Bullington v. United Air Lines, Inc., 186 F.3d 1301, 1318 (10th Cir. 1999) (abrogated on other

grounds). When determining whether a defendant’s actions are pretextual the Court “may not

second guess the business judgment of the employer.” Selenke v. Medical Imaging of Colo., 248

F.3d 1249, 1261 (10th Cir. 2001). Finally, a plaintiff’s “mere conjecture that [the] employer's

explanation is a pretext for intentional discrimination is an insufficient basis for denial of

summary judgment.” Branson v. Price River Coal Co., 853 F.2d 768, 772 (10th Cir. 1988).

       Plaintiff seems to make three arguments to demonstrate pretext. First, Plaintiff notes that

Questa’s EEOC document listing Rael as an Hispanic contradicts the evidence by Rael and

Sanchez that Rael is an Anglo with an Hispanic married name. Yet, even if Rael was perceived

to be Hispanic, that fact does not detract from Sanchez’s legitimate nondiscriminatory reason for

hiring Rael as a pre-kindergarten teacher at Alta Vista, i.e., that Rael held an early childhood

education certificate while Plaintiff did not. Accordingly, Plaintiff’s first pretext argument fails.



                                                  14
      Case 1:17-cv-00376-KG-KBM Document 59 Filed 02/15/19 Page 15 of 16



         Second, Plaintiff argues that Questa acted inconsistently by hiring Rael when she was a

“less qualified Hispanic applicant who was not recommended for hire by the interview

committee” while Plaintiff was more qualified and was recommended by the interview

committee. (Doc. 40) at 15. Contrary to Plaintiff’s argument, Rael was more qualified than

Plaintiff to teach pre-kindergarten, because she held an early childhood education certificate and

Plaintiff did not. Also, contrary to Plaintiff’s argument, the interview committee, in fact,

recommended Rael for hire, just not for the original Rio Costilla position, which Herrera offered

to Plaintiff. Hence, this second pretext argument lacks merit.

        Third, Plaintiff seems to suggest an inconsistency between Questa rejecting Plaintiff for a

position at Alta Vista because there was no position at Alta Vista but then hiring Rael for an

open position at Alta Vista. No inconsistency, however, exists. Sanchez’s decision to keep

Roybal at Alta Vista meant there was no third-grade position to fill, the position Plaintiff was

seeking at Alta Vista. Sanchez’s subsequent decision to move Mrs. Trujillo to Rio Costilla,

where Mrs. Trujillo lives, opened a pre-kindergarten position at Alta Vista, for which Rael was

certified to teach.

        Plaintiff’s pretext arguments simply fail. A reasonable jury viewing the evidence in the

light most favorable to Plaintiff could not find that Questa’s explanation for not employing

Plaintiff is unworthy of credence. Consequently, Plaintiff has not presented evidence of pretext

so as to avoid summary judgment on the Section 1981 and Title VII reverse race discrimination

claims. For all of the foregoing reasons, Questa is entitled to summary judgment on the Section

1981 and Title VII reverse discrimination claims.

        2. NMHRA Race Discrimination Claim




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     Case 1:17-cv-00376-KG-KBM Document 59 Filed 02/15/19 Page 16 of 16



       When considering a NMHRA race discrimination claim, “New Mexico uses federal law

to interpret the NMHRA.” Hunt v. Cent. Consol. Sch. Dist., 951 F. Supp. 2d 1136, 1249

(D.N.M. 2013). However, the New Mexico Supreme Court recently held that “under the plain

language of the NMHRA, its protections and requirements apply equally to all plaintiffs,

regardless of their minority or majority status.” Garcia v. Hatch Valley Pub. Sch., 2018-NMSC-

020, ¶ 25, ___ P.3d ___. In other words, New Mexico does not distinguish between minority-

based discrimination and reverse race discrimination. Even if the Court disregards the modified

Title VII prima facie element specific to reverse discrimination in analyzing Plaintiff’s NMHRA

race discrimination claim, the Court determines that Questa, nevertheless, is entitled to summary

judgment on the NMHRA race discrimination claim for all of the other reasons described above.

       IT IS ORDERED that

       1. Plaintiff’s claims against Questa Independent Schools will be dismissed with

prejudice;

       2. Defendants’ Motion for Summary Judgment (Doc. 36) is granted;

       3. summary judgment will be entered in favor of Questa School Board of Education; and

       4. Plaintiff’s claims against Questa School Board of Educations will be dismissed with

prejudice.



                                                    _________________________________
                                                    UNITED STATES DISTRICT JUDGE




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